                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 10-0773 JB

JOHN LEONARD TSOSIE,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Second Motion in Limine, filed

June 9, 2011 (Doc. 106)(“Motion”). The Court held a hearing on June 14, 2011. The primary issues

are whether the Court should prohibit Plaintiff United States of America from: (i) referencing

Father’s Day; (ii) limit testimony about the alleged victims, Manuel Johnson and Loretta Johnson,

beyond that they were married; and (iii) introducing photographs of the Johnsons predating the

accident. The Court grants the Motion in part and denies it in part. Based on the United States’

representation at the hearing that it will not mention Father’s Day, the Court will prohibit the United

States from mentioning that holiday. While Tsosie objected in his Motion to the United States

referring to the Johnsons’ relationship beyond that they were married, at the hearing he withdrew

his request, and the Court therefore will not limit the United States to mentioning only that the

Johnsons were married. The Court will not allow the United States to introduce photographs of the

Johnsons, because the photographs are not relevant to any issue that is in dispute.

                                   FACTUAL BACKGROUND

       The charges in this case arise from a fatal crash that occurred sometime before 5:11 a.m. on
October 17, 2009. Tsosie was driving one of the vehicles involved in the crash. Manuel Johnson

was driving the other vehicle, and his wife, Loretta Johnson, was the passenger. Neither of the

Johnsons survived.

                               PROCEDURAL BACKGROUND

       On March 24, 2010, a federal grand jury returned a two-count indictment charging Tsosie

with two counts of involuntary manslaughter for killing M. and L. Johnson while operating a motor

vehicle while under the influence of alcohol, contrary to N.M.S.A. 1978, § 66-8-102, and driving

recklessly, contrary to N.M.S.A. 1978, § 66-8-113, in violation of 18 U.S.C. §§ 1112 and 1153. See

Indictment, filed March 24, 2010 (Doc. 1).

       On June 9, 2011, Tsosie filed his Motion, asking that the Court “preclude the Government

from the making any mention of Father’s Day and limit testimony concerning the alleged victims

to the fact they were married.” Motion at 1; id. ¶ 1, at 1 (“Mr. Tsosie requests this Court issue an

Order that the Assistant United States Attorneys make no reference to June 19, 2011 being Father’s

Day in any matter at trial.”). The United States did not respond to the Tsosie’s Motion before the

June 14, 2011 hearing.

       At the June 14, 2011 hearing, the United States represented that it does not intend to mention

that June 19, 2011, the day before the trial was scheduled to begin, was Father’s Day. See Tr. at

60:11-15 (Court, Nayback). The United States requested latitude to explain who the Johnsons were,

including that they were married, so that the jury can understand the impact of Tsosie’s alleged

crime. See Tr. at 61:21-22 (Nayback). The United States asserted that it intends to have M.

Johnson’s brother and L. Johnson’s sister testify, and that each will present a photograph of the

Johnsons and discuss who they were. See Tr. at 60:23-61:8 (Nayback). The United States stated

that M. Johnson will be wearing a Veterans of Foreign Wars uniform in one of the photographs,

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which is of the Johnsons together. See Tr. at 61:8-10 (Nayback). The second photograph is of L.

Johnson with her parents and sisters. See Tr. at 65:22-23 (Nayback). The United States represented

that it would not object to using only one photograph. See Tr. at 65:17-19 (“THE COURT: Is there

just one photograph? MR. NAYBACK: There's two but I would happy now to narrow it to one.”).

Tsosie stated that he did not object to the United States presenting limited testimony introducing

who the Johnsons were, including that they were married, but that he objected to introducing

photographs of the Johnsons. See Tr. at 62:4-12 (“MR. WINDER: . . . . I would object to the

United States introducing any photographs of Mr. and Mrs. Johnson. Now, they can move forward

with their limited testimony . . . .”); id. at 66:20-23 (“THE COURT: Well we've worked out it

sounds like all the testimony [and] you don't have any objection to the testimony, it's just the picture

now. MR. WINDER: Yes, Your Honor.”). Tsosie also had no objection to the United States

mentioning that the Johnsons were traveling to a Navajo Nation’s fair the morning of the collision.

See Tr. at 64:17-18 (Court, Winder). Samuel L. Winder, Tsosie’s counsel, asserted that the United

States Court of Appeals for the Tenth Circuit “spanked” him for presenting a picture of a victim to

a jury when he was a Assistant United Stated Attorney (“AUSA”). Tr. at 39:22-24 (Winder).

                                             ANALYSIS

       Tsosie originally requested that the Court prohibit the United States from referencing

Father’s Day and requested that the Court limit testimony about the Johnsons’ relationship to stating

that they were married. At the hearing, The United States stated that it did not intend to mention

Father’s Day, see Tr. at 60:11-15 (Court, Nayback), and Tsosie withdrew his request that the United

States not discuss the Johnsons’ relationship, see Tr. at 62:4-12 (“MR. WINDER: . . . . I would

object to the United States introducing any photographs of Mr. and Mrs. Johnson. Now, they can

move forward with their limited testimony . . . .”); id. at 66:20-23 (“THE COURT: Well we've

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worked out it sounds like all the testimony [and] you don't have any objection to the testimony, it's

just the picture now. MR. WINDER: Yes, Your Honor.”). The Court therefore grants the Motion

in part and denies it in part. In accordance with the parties’ concessions, the Court prohibits the

United States from mentioning that June 19, 2011 is Father’s Day, and the Court denies Tsosie’s

request that the Court limit the United States to mentioning only that the Johnsons were married,

because the Johnsons’ relationship is relevant to introducing background information about who

they were. See United States v. Condrin, 473 F.3d 1283, 1286 n.2 (10th Cir. 2007)(“Background

evidence ‘is universally offered and admitted as an aid to understanding.’” (citing Fed. R. Evid. 401

advisory committee’s note)). Tsosie may renew his request if the United States elicits testimony that

he believes is designed to invoke the jury’s sympathy, rather than just introduce the Johnsons.

       Tsosie presented a new argument at the hearing that the United States should not be

permitted to introduce photographs of the Johnsons, contending that the Tenth Circuit previously

admonished him for introducing a photograph of a victim when he was an AUSA in its opinion in

United States v. Pettigrew, 468 F.3d 626 (10th Cir. 2006). The United States asserted that it should

have some latitude to introduce background information about the Johnsons, including showing a

photograph of the couple and a picture of L. Johnson with her family, and that the photograph was

relevant to the United States “prov[ing] that they were alive before they were killed.” Tr. at 65:2-3

(Nayback).

       The Court will allow the United States to introduce one photograph of the victims, because

a photograph is relevant to identifying the Johnsons. “[T]he district judge must balance the

prejudicial effect of the photographs against their probative value, an exercise of discretion that is

rarely disturbed.” United States v. Treas-Wilson, 3 F.3d 1406, 1410 (10th Cir. 1993). In United

States v. Pettigrew, the Tenth Circuit held that a district court did not abuse its discretion when it

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allowed the United States to present photographs of a victim before the crime. The defendant was

on trial for involuntary manslaughter of a mother and assault against members of mother's family

arising from automobile accident. The Tenth Circuit decided that photograph of the mother, while

living and with other members of her family, were not unduly prejudicial, but the manner in which

the United States displayed the photograph troubled the Tenth Circuit. The Tenth Circuit stated:

                At trial, the Government sought to admit into evidence a photograph
       depicting all four members of the Beasley family, including Carrie Beasley while she
       was living. Mr. Pettigrew objected, arguing that it was not offered for any proper
       purpose and that it would be unduly prejudicial. The District Court stated that it
       would allow the photo to be admitted for the purpose of identification of the victims.
       Despite this ruling, the Government did not actually move the photo into evidence.
       Instead, the Government merely displayed the photo during its opening statement,
       used it to establish Ms. Beasley's identity through the testimony of Mr. Beasley, and
       displayed it again during its closing arguments. The jury convicted Mr. Pettigrew
       on all counts.

       ....

               Mr. Pettigrew next challenges the display of the family photograph at trial.
       He argues that the District Court's admission of the photo was unfairly prejudicial
       and warrants a new trial. Fed. R. Evid. 403. The admission of photographs into
       evidence is reviewed for an abuse of discretion. United States v. Treas-Wilson, 3
       F.3d 1406, 1410 (10th Cir. 1993). “[T]he district judge must balance the prejudicial
       effect of the photographs against their probative value, an exercise of discretion that
       is rarely disturbed.” Id.

               A photograph of a victim while living is admissible to prove the identity of
       the victim. See United States v. Joe, 8 F.3d 1488, 1499 (10th Cir. 1993). The
       District Court acknowledged that a photo of the victim could stir up sympathy and
       emotions in the jurors, but concluded that any prejudice did not substantially
       outweigh its probative value since the Government had the burden to establish the
       identity of the victim. The court also cautioned the jury to “base your verdict solely
       upon the evidence without prejudice or sympathy,” a sentiment echoed by the
       prosecutor during his closing argument.

               We cannot say that the District Court abused its discretion in permitting the
       jury to see the photo during several phases of the trial. We are troubled by the
       Government's decision to display a photo of Carrie Beasley with the rest of her
       family and refer to it while saying that she did not make it home that night. But all
       four of the individuals depicted in the photo were victims in the crime. Three of

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       them -- including Carrie Beasley -- did not appear in court. “Relevant evidence is
       inherently prejudicial; but it is only unfair prejudice, substantially outweighing
       probative value, which permits exclusion of relevant matter . . . .” United States v.
       Sides, 944 F.2d 1554, 1563 (10th Cir. 1991) (quotation omitted). Accordingly, we
       will not disturb the District Court's balancing of these factors. That said, we must
       admonish the Government -- the proffering of a photograph of the deceased victim,
       while living and posed with her family, as opposed to a photo depicting only the
       decedent, “needlessly pushes the prosecutorial envelope, and could, if coupled with
       errors not present here, jeopardize a conviction.” United States v. Jones, 24 Fed.
       Appx. 968, 975 (10th Cir. 2001).

468 F.3d at 632, 638 (emphasis added). The Tenth Circuit thus held that photographs of victims

who do not appear in court may be “[r]elevant evidence” for use in establishing the identity of the

victims. The Tenth Circuit cautioned against inflammatory statements, such as “saying that she did

not make it home that night,” and displaying a victims photograph during opening and closing

arguments. 468 F.3d at 638

       The Court concludes that a photograph of the Johnsons could be “admissible to prove the

identity of the victim[s].” United States v. Pettigrew, 468 F.3d at 638 (citing United States v. Joe,

8 F.3d at 1499). Unlike the prosecution in United States v. Pettigrew, the United States does not

appear to intend to display the Johnsons’ photographs during its opening and closing arguments, but

only during the testimony of the Johnsons’ family members. Nonetheless, the Court heeds the Tenth

Circuit’s admonishment in United States v. Pettigrew and will not permit the United States to

present photographs of the Johnsons, because the photographs do not appear to be make any issue

in dispute more or less likely. The United States does not contend that the identity of the victims

is contested; rather, the United States contends that the photographs are relevant to “prov[ing] that

they were alive before they were killed.” Tr. at 65:2-3 (Nayback). That the Johnsons were alive

before they were dead is not in dispute. “Consequently, the Court will not allow the evidence for

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the phantom issue of establishing” that the Johnsons were once alive. United States v. Romero, No.

CR 09–1253 JB, 2011 WL 1103862, at *8 (D.N.M. Mar. 9, 2011)(Browning, J.)(citing United States

v. Velarde, No. CR 98–0391 JB, 2008 WL 5993210, at *38 (D.N.M. May 16, 2008)(Browning,

J.)(“While Velarde has articulated one or more proper purposes, the more serious issue is whether

Velarde truly needs the newly discovered evidence to prove these legitimate issues. In other words,

are these issues ‘phantom’ issues or real issues.”). The Court will therefore not allow the United

States to introduce the photographs of the Johnsons. The Court’s decision is without prejudice to

the United States renewing its request to admit the photographs at trial if they prove relevant to an

issues in dispute, such as if Tsosie suggests -- through cross examination or otherwise -- that the

Johnsons were not the victims or that they were not alive before their death. Otherwise, the only

purpose is to increase sympathy for the victims, and the Court should not admit the photographs for

that purpose. See Tenth Circuit Pattern Jury Instructions Criminal § 1.04, at 9 (2011 Edition)(“It

is also your duty to base your verdict solely upon the evidence, without prejudice or sympathy.”).

       IT IS ORDERED that the Defendant’s Second Motion in Limine, filed June 9, 2011 (Doc.

106), is granted in part and denied in part. The Court prohibits Plaintiff United States of America

from mentioning that June 19, 2011, the day before the trial is scheduled to begin, is Father’s Day,

and denies Defendant Leonard Tsosie’s request that the Court limit the United States to introducing

information about the Johnsons’ relationship beyond that they were married. The Court’s order is

without prejudice to Tsosie objecting to the United States eliciting irrelevant or otherwise

inadmissible evidence about the Johnsons’ relationship if the introduction goes too long. The Court

will not allow the United States to present photographs of the Johnsons from before the collision,

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because the photographs are not relevant to any issues in dispute, and the Court’s order is without

prejudice to the United States renewing its request to introduce the photographs if Tsosie contests

an issue at trial that makes the photographs probative.



                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE


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